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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

WSOU Investments LLC                       §
doing business as                          §
Brazos Licensing and Development,          §
                                           §   Civil Action No. 6:20-cv-00957-ADA
                 Plaintiffs,               §   Civil Action No. 6:20-cv-00958-ADA
                                           §
v.                                         §
                                           §           Jury Trial Demanded
OnePlus Technology (Shenzhen) Co., Ltd.,   §
                                           §
                 Defendant.




     DEFENDANT’S REPLY IN SUPPORT OF DEFENDANT’S OBJECTIONS TO
          SPECIAL MASTER’S REPORT AND RECOMMENDATION
                  REGARDING CLAIM CONSTRUCTION
                         (GROUP II PATENTS)
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I.        INTRODUCTION

          Defendant OnePlus Technology (Shenzhen) Co., Ltd. (“Defendant” or “OnePlus”)

respectfully submits its reply to WSOU’s Response to OnePlus’s Objections to the May 24, 2022

Special Master’s Report and Recommendation Regarding Claim Construction (“Rep.”).1

II.       U.S. PATENT NO. 7,477,746 (“THE ’746 PATENT”)

          There are three terms at issue with respect to the ’746 patent – terms five, six, and seven.

See Rep. at 33-44. The disputed terms, OnePlus’ proposed constructions, and the Special

Master’s Recommended Constructions, are provided in the table below:

                Term                       OnePlus’s Proposed                 Special Master’s
                                               Construction             Recommended Construction
    “an importance of parts of        Indefinite.                       Not indefinite. Plain-and-
    channel information for the                                         ordinary meaning.
    link adaptation” (claim 1, 11)
    “a lower importance with          Indefinite.                       Not indefinite. Plain-and-
    respect to link adaptation than                                     ordinary meaning.
    said at least one part” (claim
    2)
    “a coding level of said multi-    “a distinct detection             Plain and ordinary meaning.
    level coding” / “coding level”    probability level”
    (claims 1, 2, 3, 11)

          A.      “Importance” Renders Claims 1, 2 and 11 (and claims dependent thereon)
                  Indefinite

          In its initial arguments to the Special Master and in the pending objections, OnePlus

demonstrated that the term “importance” renders the claims indefinite for two reasons. First, as

used in the claims of the ’746 Patent, the “importance” term requires a subjective determination

of relative importance based on the intent of the user. WSOU cannot post-hoc resuscitate these

claims by rewriting the scope to only cover what is objectively important to “reliability” and,

even if it could, the claims would still require subjective analysis. Second, even if the claims



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    Dkt. 92 in the -957 Case, Dkt. 91 in the -958 Case.
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were limited to objective-importance-for-reliability, WSOU admits that infringement could not

be assessed with reference to the accused products alone, but only on an ongoing basis in situ

during their use, rendering the claim indefinite under Halliburton.

               1.      “Importance” Is Subjective and Renders The Claims Indefinite

       WSOU concedes that under Datamize and related cases, the term “importance” will

render a claim indefinite if it requires a subjective analysis of the intent of an alleged infringer or

other user, rather than an objective assessment of the accused device. Datamize, LLC v.

Plumtree Software, Inc., 417 F.3d 1342, 1350-52 (Fed. Cir. 2005) (finding claims indefinite

because the patentee’s construction improperly depended on the subjective perception of the

user); Uniloc 2017 LLC v. Samsung Elecs. Am., Inc., No. 2:18-CV-00506-JRG, 2020 WL

248880, at *16-18 (E.D. Tex. Jan. 16, 2020) (holding claims indefinite where “the ‘partition of

important subject matter’ [was] subjective, because it requires a broadcaster to act on the

‘importance’ of the partition”).

       To avoid indefiniteness, WSOU argues that “importance” is not subjective, but instead

“is determined based on whether the particular channel information needs to be transmitted

reliably for the link adaptation to work correctly.” Resp. at 6 (emphasis added). But this

“reliability” standard is not found anywhere in the claims.2 Instead, WSOU cherry-picks from

certain preferred embodiments in the specification that discuss reliability. Id. at 6-7. But as

WSOU itself argues, “‘[i]t is … not enough that the only embodiments, or all of the

embodiments, contain a particular limitation’” for it to be read into the claims. Id. at 13, quoting

Thorner v. Sony Computer Entm’t Am. LLC, 669 F.3d 1362, 1366-67 (Fed. Cir. 2012). There is



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  In fact, WSOU opposes adding any measure of reliability to the claims by objecting to
OnePlus’s proposed construction of “coding levels” as distinct detection probabilities. See Obj.
at 5.


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no lexicographical statement or other language in the intrinsic record that limits “importance” to

merely importance-for-signal-reliability.

       Moreover, WSOU ignores several embodiments where signal reliability is not of prime

importance. WSOU concedes that the patent specification also discloses that user-driven

objectives, like a desire for “high user speed” may determine what information is “important”

and should be prioritized. Obj. at 4; Lyons Decl. Ex. 3 (’746 patent) at 4:2-4, 4:27-30.

       OnePlus also explained—and WSOU did not rebut—that even if “importance” were

tethered to “reliability,” the patent does not outline an objective hierarchy of what types of

channel information should be prioritized in order to ensure signal reliability. Obj. at 7-8

Accordingly, even under WSOU’s improperly narrow interpretation of “importance” as

“importance-to-reliability,” a subjective assessment would still be necessary. For example, the

patent teaches one embodiment where a particular part of channel information is “assigned

statically.” Lyons Decl. Ex. 3 at 2:66-67. But the patent also teaches that the relative

importance of channel information to signal reliability, for instance the importance of

“wideband” or “sub-band” information, can change dynamically. Id. at 3:28-41. This creates a

dilemma for the static embodiment, e.g., that always prioritizes “wideband” over “sub band”

information: the only way to assess whether that prioritization has been made based on “an

importance” of the information to signal reliability, as opposed to some other factor like user

speed, battery life, or anything else, is to ask the product designer. This is the sort of subjective

inquiry that led to an indefiniteness finding in Uniloc v. Samsung, 2020 WL 248880, at *16-18.

       The Uniloc v. Google case relied on by WSOU is distinct from the present situation. In

that case, the court found that the “important” term was defined in the specification and adopted

a construction narrowing the scope of the claims. Uniloc 2017 LLC v. Google LLC, No.




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218CV00492JRGRSP, 2020 WL 569858, at *7 (E.D. Tex. Feb. 5, 2020). Here, by contrast,

neither the parties nor the Special Master have argued that there is sufficient language in the

specification to limit “importance” beyond its plain and ordinary meaning.

       Finally, as shown above, OnePlus’ argument is firmly grounded in the specification and

is not, as WSOU repeatedly contends, “attorney ipse dixit.” Resp. at 6, 11. There is also not, as

WSOU suggests (Response at 6), any requirement to introduce expert testimony to support a

finding of indefiniteness. See Datamize, 417 F.3d at 1346-47 (affirming a district court finding

of indefiniteness where “the district court rejected expert testimony offered by [Plaintiff]” noting

“expert testimony is disfavored and cannot vary or contradict claim language”).

               2.      “Importance” Cannot Be Reasonably Determined, Rendering The Claim
                       Indefinite

       WSOU contends that the specification provides “sufficient guidance to determine the

relative degree of ‘importance’ between parts of channel information for link adaptation.”

Resp. at 11.3 But that is not enough. Halliburton explains that “[e]ven if a claim term's

definition can be reduced to words, the claim is still indefinite if a person of ordinary skill in the

art cannot translate the definition into meaningfully precise claim scope.” Halliburton Energy

Servs., Inc. v. M-I LLC, 514 F.3d 1244, 1251 (Fed. Cir. 2008). In Halliburton, the claims fell

short of this standard because environmental conditions dominated the infringement analysis and

a skilled artisan could not determine whether an accused product infringed from one location to

another without an analysis of site conditions at the time of alleged infringement. Id. at 1254-55

(“[U]nder Halliburton’s proposed construction in this case, an artisan would not know from one

well to the next whether a certain drilling fluid was within the scope of the claims because a wide


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 As noted above, WSOU is wrong, and tellingly, WSOU does not propose a construction
enunciating such guidance. Regardless, as discussed infra, the claim is still indefinite under
Halliburton.


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variety of factors could affect adequacy.”) Accordingly, “[w]hen a proposed construction

requires that an artisan make a separate infringement determination for every set of

circumstances in which the [accused product] may be used, and when such determinations

are likely to result in differing outcomes (sometimes infringing and sometimes not), that

construction is likely to be indefinite.” Id. at 1255.

       The parties and the Special Master agree that “‘variable conditions … [will] require[] a

POSITA to reassess whether part of the channel information is important for each set of

conditions[.]’” Response at 10 (quoting Report and Recommendation at 49). This requirement

for a constant reassessment places the patent claims squarely within the zone of ambiguity

prohibited by Halliburton. The claims should therefore be found indefinite.

       B.      “Coding Level” Must Include A Distinct Detection Probability

       WSOU ignores clear statements in the specification that establish a one-to-one

relationship between “coding levels” and a detection probability. Specifically, in describing the

invention, the specification expressly links coding levels to detection probability. Lyons Decl.

Ex. 3 at 2:27-28 (“a robust coding level (i.e., high detection rate)”) (emphasis added). This

statement was not made in the context of a particular embodiment, but rather, is a general

explanation of what coding levels are.

       All of the portions of the specification that WSOU cites actually confirm that a coding

level comprises a distinct detection probability:

                Cited Language                                         Discussion

 “Preferably, each coding level corresponds to       This confirms that coding levels must include
 a level of a detection probability of the bit       a detection probability. If a coding level
 sequence of that coding level” (id. at 2:9-14);     lacked a distinct detection probability, it
                                                     would not “correspond[] to a level of a



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                                                       detection probability” of the associated “bit
                                                       sequence.”
“Assigning the at least a part of the channel          A coding level that comprises “a distinct
information to the predefined coding level             detection probability” enables (e.g., “allows
allows for controlling the detection                   for”) the “coding level … controlling the
probability, i.e. a quality of the transmission        detection probability.”
of the channel information” (id. at 2:18-21);
“For each coding level 0, … , n, the                   This passage concedes “Each coding-level …
prioritizing element 37, generates a bit               corresponds to a detection probability level
sequence c1 ,c2 , … cn. Each generated bit             p1, p2, … pn” (i.e., a “distinct detection
sequence c1, c2 , … , cn corresponds to the            probability”).
part ci1, ci2 of channel information CI to
which the coding level of that bit sequence c1
c2, ... , c, has been assigned. Each coding-
level 0, ... , n corresponds to a detection
probability level p1, p2, ... , pn.” (id. at 7:38-
48);
’746 Patent Fig. 2.                                    Figure 2 indicates that each coding levels c1-
                                                       cn are related to a desired detection
                                                       probability level. See also id. at 7:38-48
                                                       discussed supra.
“In an embodiment, the channel information             This discussion is in the context of 7:46-48,
CI may be subdivided such that part ci, is             stating “Each coding-level … corresponds to
more important with respect to link adaptation a detection probability level p1, p2, … pn”
than part cj, if and only if i<j. In this
embodiment, the coding level i may be
assigned to the part ci, such that the part ci,
corresponds to the bit sequence c.” (id. at
7:53-57)
Id. at 10:48-55 (Chart):                               This chart is preceded with the text “A coding
                                                       level having a high detection probability


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                                                   level p is assigned to the channel information
                                                   (e.g. the coarse precoding vector). A coding
                                                   level having a low detection probability
                                                   level p<p is assigned to the payload sequence
                                                   d,” (10:43-48 (Emphasis added)) confirming
                                                   that coding levels used in the chart include
                                                   distinct detection probabilities.

Accordingly, the observation that detection levels can exist separately from coding levels is not

contrary to the fact that, as used in the ’746 Patent, coding levels always are associated with

detection probabilities. In light of this, and because WSOU has not articulated any other way the

claims can achieve the goal of prioritizing important information, “coding level” must be

construed as comprising “a distinct detection probability.” See Howmedica Osteonics Corp. v.

Zimmer, Inc., 822 F. 3d 1312, 1321-22 (Fed. Cir. 2016); Abbott Lab’ys v. Sandoz, Inc., 566 F.3d

1282, 1288 (Fed. Cir. 2009).

       Finally, while OnePlus’ proposed construction is grounded in the specification, the

construction promoted by WSOU—“[p]lain-and-ordinary meaning wherein the plain-and-

ordinary meaning is ‘a parameter that could, but does not necessarily, correlate to a detection

probability’” is completely untethered from the specification. WSOU concedes that “coding

level” has no plain and ordinary meaning for a lay jury, so some construction is needed. WSOU

tries to defend its pending construction noting it “provides a potentially helpful example of what

a ‘coding level’ could be used for.” Resp. at 14. But this example is not at all “helpful” because

it provides the jury with no way to identify what else might constitute a “coding level.” The

generic term “parameter”—which is essentially WSOU’s construction of “coding level”—

provides the jury with no guidance as to what this element means or what it covers. WSOU’s

proposed construction should be rejected.


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Dated: July 12, 2022                  /s/ Michael J. Lyons
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                               CERTIFICATE OF SERVICE


       The undersigned counsel hereby certifies that on July 12, 2022, a true and correct copy of

the foregoing document was served electronically on counsel of record via the Court’s CM/ECF

system per Local Rule CV-5.

                                                           /s/ Michael J. Lyons
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